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                         IN THE UNITED STATES DISTRICT COURT FOR THE
8
                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,           )            Case No. 1:05-CR-00350 LJO
                                         )
12                     Plaintiff,        )            STIPULATION TO CONTINUE DATE
             v.                          )            FOR STATUS CONFERENCE
13                                       )
                                         )
14                                       )            DATE: January 11, 2008
     FRANCISCO MENDOZA MORALES,          )            TIME: 8:45 a.m.
15   et al.,                             )            PLACE: Courtroom 4
                                         )
16                     Defendants.       )            Honorable Lawrence J. O’Neill
     ____________________________________)
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18            Upon the stipulation of the parties and good cause appearing, specifically the
19   unavailability of counsel due to involvement in trial, and the absence of the psychiatric report
20   which is needed for evaluation,
21            IT IS HEREBY ORDERED that the status conference presently set for
22   January 11, 2008 at 8:45 a.m. is continued until February 22, 2008, at 9:00 a.m., to be heard
23   before the Honorable Lawrence J. O’Neill, Courtroom 4.
24   IT IS SO ORDERED.
25   Dated:      January 10, 2008                      /s/ Lawrence J. O'Neill
     b9ed48                                        UNITED STATES DISTRICT JUDGE
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